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 8                               UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                                 No. 2:90-cv-0520 KJM SCR P

12                              Plaintiffs,                  ORDER
13            v.
14    GAVIN NEWSOM, et al.,
15
                                Defendants.
16

17           The Special Master has reported to the court on the outcome of his continued discussions

18    with the Plata Receiver about the possibility of the latter’s appointment as Receiver in this case.

19    See Sept. 11, 2020 Minute Order, ECF No. 8397. The Plata Receiver has informed the Special

20    Master he has concluded he cannot “serve both the Plata and the Coleman courts zealously and

21    with fidelity as receiver in both cases” particularly because of “the significant differences

22    between the courts’ remedial challenges.” He has therefore withdrawn his name from

23    consideration as receiver in this action and the Special Master has so informed the court. With

24    his permission, a copy of Receiver Kelso’s email to the Special Master is attached to this order.

25           The Plata Receiver has advised he is of the view that he and the Special Master can work

26    collaboratively on certain issues through the existing court coordination process. The Special

27    Master concurs with this and the court has authorized the Special Master to pursue these avenues

28    to the extent feasible and consistent with the remedy and court orders in this action.

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1           At the same time, the court will continue to move forward with identifying and hiring a

2    receiver for this action and will issue shortly a further order setting out next steps.

3           IT IS SO ORDERED.

4    DATED: September 23, 2024.

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 1                                           ATTACHMENT
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 7    From: Clark Kelso <ckelso@pacific.edu>
 8    Date: September 19, 2024 at 8:04:18 PM EDT
 9    To: Lopes Matthew <mlopes@pldolaw.com>
10    Subject: Coleman Receivership

11
12    Good morning, Matty.
13
14    I wanted to briefly document my concluding thoughts regarding the possibility of serving as a
15    receiver in Coleman.
16
17    We began our conversation a few weeks ago when, in response to your question whether I would
18    be willing to serve as Coleman receiver, I responded with a qualified “yes” but indicated I had
19    lots of questions to think about. I appreciate the time we have been given to think and talk. After
20    much consideration, I have concluded that I could not serve both the Plata and the Coleman
21    courts zealously and with fidelity as receiver in both cases. Reporting to two judges, each with
22    independent authority, would always be difficult, and it is made even more challenging here by
23    the significant differences between the courts’ remedial challenges. I therefore respectfully
24    withdraw my name from consideration as Coleman receiver.
25
26    I do believe that you and I can work collaboratively through the existing court coordination
27    process to achieve some immediate progress in matters related to suicide prevention and mental
28    health data systems. We have previously worked well on information technology initiatives, and I
29    already have direct responsibility for medical and nursing as it relates to suicide prevention.
30
31    Best wishes,
32    Clark
33




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